                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA,                  )
                                           )
v.                                         )    Case No. 1:11 CR 161-1
                                           )
JOHNNY REID EDWARDS,                       )
                                           )
                 Defendant.                )
                                           )

               AMENDED MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

          COMES NOW James P. Cooney III, the undersigned counsel for the defendant,

and files on behalf of Gregory B. Craig this Amended Motion for Leave to Withdraw as

Counsel in the above-referenced case.

          In support thereof, counsel for the defendant on behalf of Mr. Craig, respectfully

states:

          1.     On June 3, 2011, the law firm of Skadden, Arps, Slate, Meagher & Flom

LLP (“Skadden”) by and through counsel, Gregory B. Craig, made a limited appearance

on behalf of the defendant Johnny Reid Edwards solely for purposes of the June 3, 2011,

arraignment and initial appearance.

          2.     Skadden no longer represents Mr. Edwards.

          3.     Mr. Edwards has consented to Skadden’s motion for leave to withdraw as

his counsel in this case.

          4.     Because attorneys from three other firms have entered general appearances

on his behalf, there is no prejudice to Mr. Edwards in permitting this withdrawal.

          Accordingly, pursuant to Local Criminal Rule 57.1, which incorporates by




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reference Local Civil Rule 83.1, counsel for the defendant on behalf of Mr. Craig and

Skadden, respectfully moves this Court for an order granting leave to withdraw as

counsel.

      Respectfully submitted, this 19th day of September, 2011.



                                       /s/ James P. Cooney III
                                       James P. Cooney III, N.C. Bar No. 12140
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                                       Attorney for Defendant




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                          CERTIFICATE OF SERVICE

       The undersigned certifies that on September 19, 2011, a copy of the foregoing
AMENDED MOTION FOR LEAVE TO WITHDRAW AS COUNSEL was
electronically filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

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       The undersigned certifies that on September 19, 2011, the foregoing AMENDED
MOTION FOR LEAVE TO WITHDRAW AS COUNSEL was served by causing to be
deposited copies of the same in an official depository of the United States Postal Service, in
postage-paid envelopes, addressed as follows:

       David W. Foster
       Clifford M. Sloan
       Gregory B. Craig
       Skadden Arps Slate Meagher & Flom LLP
       1440 New York Avenue N.W.
       Washington, DC 20005


                                           /s/ James P. Cooney III
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                                           Attorney for Defendant

Date: September 19, 2011




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